                      Case 1:17-cv-04579-RWS Document 12 Filed 11/28/17 Page 1 of 1



                                      
                                                            
                                                   
                                             


                      Matthew J. Farmer                        
                              Plaintiff                        
                                                                        1:17cv04579
             Ethicon, Inc., Johnson & Johnson                  
                            Defendant                          

                                              APPEARANCE OF COUNSEL

      

          

          Ethicon, Inc., Johnson & Johnson                                                                             


          11/28/2017                                                                 /s/ Halli D. Cohn
                                                                                          Attorney’s signature


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